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                          Exhibit 13

            April 9, 2012 Email Chain
           Regarding PGIC's Liabilities
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